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                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          MAR 21 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
   ALEJANDRO RODRIGUEZ; et al.,                   No.   20-55770

                  Petitioners-Appellees,          D.C. No.
                                                  2:07-cv-03239-TJH-RNB
    v.                                            Central District of California,
                                                  Los Angeles
   WILLIAM P. BARR, Attorney General; et
   al.,                                           ORDER

                  Respondents-Appellants.

   Before: WARDLAW and GOULD, Circuit Judges, and HADDON,* District
   Judge.

         The parties’ Joint Motion for a 90 Day Extension to File Petition for Panel

   Rehearing and Rehearing En Banc (Dckt. No. 33) is granted. The Appellant’s

   Motion for Panel Rehearing (Dckt. No. 34) is denied without prejudice.




         *
                The Honorable Sam E. Haddon, United States District Judge for the
   District of Montana, sitting by designation.
